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  UNITED STATES DISTRICT COURT                                  EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                           §
                                                    §
 versus                                             §     CRIMINAL ACTION NO. 4:08-CR-59(8)
                                                    §
 COLIN JOHN NICKERSON                               §

                     ORDER ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

           On July 7, 2008, Defendant Colin John Nickerson (“Nickerson”) filed his Motion to

 Suppress (#222). In his motion, Nickerson seeks to suppress a bottle containing approximately

 138 grams of gamma hydroxybutyrate (“GHB”) that was recovered from his motorcycle during

 a traffic stop conducted by the Dallas Police Department on September 21, 2007. The Court

 referred Nickerson’s motion to the Honorable Don D. Bush, United States Magistrate Judge, for

 hearing, consideration, and a recommendation. After considering the evidence presented and the

 arguments of counsel at a hearing held on July 22, 2008, Judge Bush recommended that the

 pending motion be denied. Subsequently, on July 31, 2008, Nickerson filed his Objections to

 Report and Recommendation and Objection to Court Ruling on Assistance From a Polygrapher

 (#312).

           If any party objects to a magistrate’s findings and recommendations, the Court must

 conduct a de novo review. Section 636(b)(1)(B) provides that:

           (A) a judge may . . . designate a magistrate to conduct hearings . . . and to submit
           to a judge of the court proposed findings of facts and recommendations for the
           disposition, by a judge of the court, of [a motion to suppress evidence in a criminal
           case] . . . .

           Within ten days after being served with a copy, any party may serve and file
           written objections to such proposed findings and recommendations as provided by
           rules of court. A judge of the court shall make a de novo determination of those
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         portions of the report or specified proposed findings or recommendations to which
         objection is made. A judge of the court may accept, reject, or modify, in whole or
         in part, the findings or recommendations made by the magistrate. The judge may
         also receive further evidence or recommit the matter to the magistrate with
         instructions.1

 “Indeed, the fact finding process may be improved by the referral practice. In making a final

 determination, the district court has the benefit of a carefully developed record, a magistrate’s

 thoughtful consideration of the issues, and argument of counsel regarding specifics not agreeable

 to the parties.” United States v. Marshall, 609 F.2d 152, 155 (5th Cir. 1980) (quoting United

 States v. Whitmire, 595 F.2d 1303, 1305 (5th Cir. 1979)).

         In conducting a de novo review, “the district court is not required to rehear testimony when

 a suppression hearing has been referred to a magistrate.” United States v. Lewis, 621 F.2d 1382,

 1387 (5th Cir. 1980) (citing United States v. Raddatz, 447 U.S. 667, 673-76 (1980)). “It is for

 the district court to decide how much it wishes to rehear.” Id. Here, the Court reviewed the

 pending motion, the Government’s response, the report of the United States Magistrate Judge, and

 Nickerson’s objections. Additionally, the Court read the entire transcript of the hearing held on

 July 22, 2008. See United States v. Elsoffer, 644 F.2d 357, 358-59 (5th Cir. 1981); Lewis, 621

 F.2d at 1387. On Monday, August 4, 2008, the Court provided the parties with an opportunity

 to supplement the carefully developed record and to present the testimony of two individuals who

 were unavailable on July 22, 2008—Officer Coit Willis and Sergeant Barry Ragsdale, both of the

 Dallas Police Department. In addition, the court heard the testimony of Joe D. Morris, a




 1
   Prior to the July 22, 2008, hearing, the parties agreed to shorten the objection period as to the Motion
 to Suppress to five (5) days.

                                                     2
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 polygraph examiner engaged by defense counsel to administer a polygraph examination to

 Nickerson.2

           Having considered the record, including the additional evidence elicited on Monday,

 August 4, 2008, the Court finds no legal or factual error in Judge Bush’s Report and

 Recommendation. Moreover, even assuming arguendo that the narcotics were obtained through

 an unlawful search, the Court is of the opinion that the record indicates, by a preponderance of

 the evidence, that the officers’ normal police procedure would have inevitably led to the discovery

 of the GHB. The United States Court of Appeals for the Fifth Circuit has recognized that the

 inevitable discovery doctrine is applicable in instances where the government establishes by a

 preponderance of the evidence that: “(1) a reasonable probability that the contested evidence

 would have been discovered by lawful means in the absence of the police misconduct and (2) that

 the government was actively pursuing a ‘substantial alternate line of investigation at the time of

 the constitutional violation.’” United States v. Lamas, 930 F.2d 1099, 1102 (5th Cir. 1991)

 (quoting United States v. Cherry, 759 F.2d 1196, 1205-06 (5th Cir.1985)). In light of the

 warrants check, which revealed an outstanding warrant for Nickerson’s arrest,3 the Court

 concludes that the GHB recovered from Nickerson’s motorcycle would have been lawfully found

 pursuant to an inventory search in accordance with the Dallas Police Department’s standard

 policy.4


 2
   Although the Court’s Order dated July 9, 2008, denied Nickerson’s ex parte request for additional CJA
 funds for the administration of a polygraph examination, defense counsel utilized funds that had been
 authorized for investigative services.
 3
     The parties do not dispute the existence or validity of the warrant.
 4
   Dallas Police Department General Order 313.12(A)(2)(a) provides that “[i]n all cases where a vehicle
 is impounded, an inventory search of the vehicle will be conducted. The search will be made by the

                                                        3
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       Accordingly, the United States Magistrate Judge’s report is hereby ADOPTED,

 Nickerson’s objection regarding the lack of assistance from a polygrapher is MOOT, and

 Nickerson’s
         . Motion to Suppress (#222) is DENIED.
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.

        SIGNED at Sherman, Texas, this 6th day of August, 2008.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE




 impounding officer, at the scene of the impoundment whenever possible.”               Further, section
 313.12(A)(2)(b) states:

       When inventorying a vehicle, the vehicle and its container are to be inspected and
       inventoried. A locked container may be inspected only if the officer can do so without
       damaging the container or breaking the lock. Container shall mean any object capable of
       holding other objects, including but not limited to: vehicle trunk, glove compartments,
       consoles, luggage, briefcases, boxes, bags, purses or clothing. If the container cannot be
       opened and inspected, it should be so noted on the wrecker book.

                                                   4
